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    Document                    Reason
    Document 99-2
    Jones29-58                  Birthdays
    Jones430-70                 Birthdays and Addresses
    Jones795-837                Birthdays
    Jones889-927                Birthdays
    Jones948-84                 Birthdays
    Jones1015-70                Addresses

    Document 99-3
    Jones1275-92                Birthdays
    Jones1503-48                Birthdays
    Jones1692-717               Medical Report
    Jones1916-43                Depo w/ photo
    Jones1970-2005              Xerox of Check
    Jones2072-76                Depo w/ photo
    Jones2077-85                Depo w/ photo

    Document 100
    Jones2535-93                Depo w/ photo
    Jones2594-668               Depo w/ photo
    Jones2594-2668              "Confidential" Deposition

                                Depos w/ photo, includes at least one
                                "confidential" deposition, addresses,
    Jones2972-3144              and (as noted) crime scene photoes

    Document 100-1
    Jones3145-236               Depo w/ photo, Death Certificate


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    Document                    Reason
    Jones3353-74                "Confidential" letter
    Jones3375-404               Birthday
    Jones4098-222               Depo w/ photo and addresses

    Document 101
                                Depo w/ photo, "Confidential" depo,
    Jones4771-5235              and (as noted) photo)

    Document 101-1
    Jones5666-985               Depo w/ photo and photo ID

    Document 102
                                "Confidential" Deposition and Depo
                                w/ photo, medical report, death
    Jones6615-6789              certificate,
                                Depo w/ photo, "Confidential"
                                deposition, medical report, death
    Jones6790-6875              certificate,

    Document 102-1
    Jones6940-74                "Confidential" Depo
    Jones7027-61                "Confidential" Depo
                                "Confidential" Depo & Crime scene
    Jones7062-192               photos
    Jones7193-313               "Confidential" Depo

    Document 103
    Jones7403-518               Depo w/ picture


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    Document                    Reason
                                Depo w/ picture, medical report,
    Jones7552-651               death certificate
    Jones7711-66                Birthday
    Jones7838-49                Depo w/ picture
    Jones7911-66                Birthday

    Document 103-1
    Jones8137                   Birthday
    Jones8140                   Birthday
    Jones8153-314               Depo
    Jones8315-371               Depo
    Jones8388-469               Depo
    Jones8501-03                Birthday

    Document 104
    Jones9248-328               Depo and confidential depo

    Document 104-1
    Jones9954-94                Birthdays, addresses
    Jones10120-33               Addresses

    Document 104-2
    Jones10435-63               Depo
    Jones10476-77               Notes stamped "confidential"
    Jones10479-81               Criminal Record
    Jones10484-570              Possible criminal history
    Jones10771-76               Address
    Jones10786-89               Birthday


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    Document                    Reason
    Jones10809                  Address
    Jones10810                  Address
    Jones10811                  Address
    Jones10819-27               Death Certificate and ID card
    Jones10828-36               Death Certificate and ID card
    Jones11057-68               Address
    Jones11224-57               Address

    Document 105
    Jones11284-309              Addresses
    Jones11373-75               "Confidential" stamp
    Jones11383                  "Confidential" stamp
    Jones11388-90               Criminal history
    Jones11400-04               Personnel Action (I think)
                                Addresses, birday, criminal history,
    Jones11408-43               toxicology report for Kurip
    Jones11459-61               Addresses
    Jones11484-95               Addresses
    Jones11766-84               Murray's SSN, Birthday, Addresses
    Jones12129-29               Funeral service licenses
    Jones12130                  Funeral service licenses
    Jones12131                  Funeral service licenses

    Document 105-1
    Jones12451-60               Address and SSN
    Jones12461-70               Address and SSN

    Document 106


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    Document                    Reason
    Jones13571-73               Address
    Jones13841-960              Birthday and Address
    Jones13961-4002             Birthday and Address
    Jones14003-122              Birthday and Address

    Document 106-1
    Jones14358-533              Depo
    Jones14536-97               Depo
    Jones14598-620              Depo
    Jones14621-30               Depo
    Jones14631-87               Depo
    Jones14890-5048             Depo w/ photo and "confidential"
    Jones15049-102              Depo w/ photo and "confidential"
    Jones15103                  "Confidential" Depo
    Jones15104                  "Confidential" Depo

    Document 106-2
    Jones15119-356              Confidential Depo
    Jones15357-438              Confidential Depo
    Jones15455-498              Confidential Depo
    Jones15499-516              Confidential Depo
    Jones15553-61               Address
    Jones15568-753              Depo
    Jones15754-817              Depo
    Jones15818-46               Depo
    Jones15847-75               Depo
    Jones15876-87               Depo



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    Document                    Reason
    Document 106-3
    Jones15933-6168             Depo
    Jones16169-251              Depo
    Jones16252-71               Possible internal personnel
    Jones16294-306              Possible internal personnel

    Document 107
                                Uncertain what to even call Ex. 1
    Jones16307-40               (16311) in this. Marked to be safe.
    Jones16348-67               Internal personnel
    Jones16598-803              Depo
    Jones16804-76               Depo
    Jones16908-10               Birthday
    Jones16911-13               Depos
    Jones16914-7147             Depos
    Jones17148-228              Depos

    Document 107-1
    Jones17242-405              Depo
    Jones17406-62               Depo
    Jones17889-8068             Depo
    Jones18500-06               Addresses
    Jones18094-104              Addresses, birthdays
    Jones18105-28               Addresses, Stamped "Confidential"

    Document 107-2
    Jones18945-48               Unredacted personnel files
    Jones18998-99               Birthday


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    Document                    Reason
    Jones19046-48               Birthdays

    Document 108
    Jones19062-63               Address
    Jones19069-73               Address
    Jones19078                  Address
    Jones19079-80               Address
    Jones19081-82               Address
    Jones19108-11               Criminal history
    Jones19121-24               Criminal history
    Jones19139-41               Criminal history
    Jones19144                  Address
    Jones19145-46               Address
    Jones19285-90               Address
    Jones19291-93               Address
    Jones19316-18               Address
    Jones19319-23               Address
    Jones19592-97               Birthdays and SSNs
    Jones19605-07               Murray Photos
    Jones19608                  Crime scene
    Jones19609-10               Murray Photos
    Jones19611-13               Crime scene
    Jones19616-17               Address
    Jones19618-20               Address
    Jones19630-35               Birthdays and SSNs
    Jones19642-45               Criminal history and birthdays
    Jones19646-49               Medical records



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    Document                    Reason
    Document 108-1
    Jones20651-720              Employee records
    Jones20821-959              Employee records
    Jones20982-1039             Employee records

    Document 108-2
    Jones21371-409              Employee records
    Jones21509-61               Employee records
    Jones21717-97               Deposition/Picture

    Document 109-2
    Jones23135-87               Employee records
    Jones23298-349              Employee records




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